Case 5:20-cv-00311-JFW-SP Document 1 Filed 02/18/20 Page 1 of 9 Page ID #:1



 1
     Scott M. Grace, SBN 236621
 2   Grace Law, APC
     1958 Sunset Cliffs Boulevard
 3
     San Diego, CA 92101
 4   Phone: (619) 346-4611
 5
     Facsimile: (619) 501-8106
     sgrace@gracelawapc.com
 6

 7   Attorney for Plaintiff Eileen Ballejos
 8

 9                    IN THE UNITED STATES DISTRICT COURT
10                FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

12
      Eileen Ballejos,                               Case No. 5:20-cv-311
13

14                                Plaintiff,           COMPLAINT FOR VIOLATIONS
                                                       OF:
15
      vs.
16
                                                          FEDERAL FAIR DEBT
      Velocity Investments, LLC; Mandarich
17
      Law Group, LLP; and Does 1 through 5,                COLLECTION PRACTICES
18    inclusive.                                           ACT
19
                                                          CALIFORNIA ROSENTHAL
                                  Defendant.               FAIR DEBT COLLECTION
20
                                                           PRACTICES ACT
21
                                                          CALIFORNIA FAIR DEBT
22                                                         BUYING PRACTICES ACT
23

24
                                                       DEMAND FOR JURY TRIAL

25

26

27

28




     Complaint                                                    Case # 5:20-cv-311

                                               -1-
Case 5:20-cv-00311-JFW-SP Document 1 Filed 02/18/20 Page 2 of 9 Page ID #:2



 1
     I.     Introduction
 2
            1.     Plaintiff Eileen Ballejos, (“Ballejos” or “Plaintiff”), through her
 3   counsel, brings this action to challenge the acts of Defendants Velocity Investments,
 4   LLC (“Velocity”) and Mandarich Law Group, LLP (hereinafter “Mandarich”)
 5   (collectively “Defendants”) regarding violations of the Fair Debt Collection
 6   Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter “FDCPA”), the California Fair
 7   Debt Buying Practices Act (“FDBPA”) and the California Rosenthal Fair Debt
 8   Collection Practices Act, Cal. Civ. Code §1788, et seq. (“RFDCPA” or “Rosenthal
 9   Act”), all of which prohibit debt collectors and creditors from engaging in abusive,
10   deceptive and unfair practices.
11          2.     Plaintiff makes these allegations on information and belief, with the
12   exception of those allegations that pertain to Plaintiff or Plaintiff’s counsel, which
13   Plaintiff alleges on personal knowledge.
14          3.     While many violations are described below with specificity, this
15   Complaint alleges violations of the statutes cited in their entirety.
16          4.     Plaintiff is unaware of the true names or capacities, whether individual,
17   corporate, associate or otherwise of the Defendants sued herein as Does 1 through 5,
18   and therefore, sues the Defendants by such fictitious names.
19          5.     Any violations by Defendants were knowing, willful, and intentional,
20   and Defendants did not maintain procedures reasonably adapted to avoid any such
21   violations.
22                             II.     JURISDICTION AND VENUE
23          6.     This action arises out of violations by each of the Defendants of the
24   FDCPA under 15 U.S.C. §1692, et seq., and of the Rosenthal Act under Cal. Civ.
25   Code §1788, et seq and violations by Defendant Velocity of the FDBPA under Cal.
26   Civ. Code §1788.50, et seq. Jurisdiction arises pursuant to 15 U.S.C. §1692(k)(d),
27   and 28 U.S.C. §1367 for supplemental state claims.
28




     Complaint                                                    Case # 5:20-cv-311

                                                -2-
Case 5:20-cv-00311-JFW-SP Document 1 Filed 02/18/20 Page 3 of 9 Page ID #:3



 1
            7.    As Defendants do business in the state of California, and committed the
 2
     acts that form the basis for this suit in the state of California, the Court has personal
 3
     jurisdiction over Defendants for purposes of this action.
 4
            8.    Venue is proper in this Court pursuant to 28 U.S.C. §1391.
 5
     III.   Parties
 6
     Plaintiff
 7          9.    Plaintiff is a natural person residing in Redlands, California, and is a
 8   consumer within the meaning of 15 U.S.C. §1692a(3) of the FDCPA in that she is a
 9   natural person purportedly obligated to pay a consumer debt, allegedly owed to
10   Velocity (hereinafter “Debt”).
11   Velocity
12          10.   Plaintiff is informed and believes that Defendant Velocity is and was at
13   all relevant times a New Jersey limited liability company, or “LLC” engaged in the
14   business of purchasing and collecting charged-off consumer debts with its principal
15   place of business located at 1800 Route 34 North, Building 3, Suite 303 in Wall,
16   New Jersey, and is a “debt buyer” as that term is defined by California Civil Code
17   §1788.50(a)(1).
18          11.   Velocity’s principal purpose is to collect money on the debts it
19   purchases, and as such Velocity is a “debt collector” under 15 U.S.C. §1692a.
20          12.   Defendant Velocity, in the ordinary course of business, regularly, and
21   on behalf of himself, herself, or others, engages in debt collection as that term is
22   defined by California Civil Code §1788.2(b), and is therefore a debt collector as that
23   term is defined by California Civil Code §1788.2(c).
24   Mandarich
25          13.   Plaintiff is informed and believes that Defendant Mandarich is and was
26   at all relevant times a California limited liability partnership, or “LLP” and a person
27   who uses an instrumentality of interstate commerce or the mails in a business the
28   principal purpose of which is the collection of debts, or who regularly collects or


     Complaint                                                   Case # 5:20-cv-311

                                                -3-
Case 5:20-cv-00311-JFW-SP Document 1 Filed 02/18/20 Page 4 of 9 Page ID #:4



 1
     attempts to collect, directly or indirectly, debts owed or due or asserted to be owed
 2
     or due another with its principal place of business located at 9200 Oakdale Avenue,
 3   Suite 601, Chatsworth, CA 91311, and is therefore a debt collector as that phrase is
 4   defined by 15 U.S.C. §1692a(6).
 5          14.   Defendant Mandarich, in the ordinary course of business, regularly, and
 6   on behalf of himself, herself, or others, engages in debt collection as that term is
 7   defined by California Civil Code §1788.2(b), and is therefore a debt collector as that
 8   term is defined by California Civil Code §1788.2(c).
 9   IV.    Other parties of interest
10          12.   Prosper Funding, LLC is a Delaware limited liability company
11   domiciled in California, with an address of 221 Main Street, 3rd Floor in San
12   Francisco, California registered with the Secretary of State of the State of California.
13          13.   Prosper Funding, LLC is a Delaware corporation domiciled in
14   California, with an address of 221 Main Street, 3rd Floor in San Francisco,
15   California registered with the Secretary of State of the State of California.
16   V.     Facts Common to all Claims for Relief
17          14.   On March 13, 2019, Velocity, through counsel, filed a complaint
18   (“Collection Complaint”) in the Superior Court of California for the County of
19   Contra Costa against Plaintiff, in the matter of Velocity Investments, LLC v. Eileen
20   Ballejos, et al, case number CIVDS1908313 (“Collection Action”).
21          15.   Plaintiff was later served with the Collection Complaint.
22   Failure to identify the true “charge-off” creditor
23          16.   Plaintiff is informed and believes, and thereon alleges that “Prosper
24   Funding, LLC” did not own the account at issue on the date of charge-off.
25          17.   Prosper Funding, LLC did not own the account at issue at the time of
26   charge-off, and was not the “charge-off creditor.”
27          18.   Despite that fact, Defendant alleged at paragraph 4 of the Collection
28   Complaint that “The charge-off creditor at the time of charge-off is Prosper
     Funding, LLC.”
     Complaint                                                   Case # 5:20-cv-311

                                                -4-
Case 5:20-cv-00311-JFW-SP Document 1 Filed 02/18/20 Page 5 of 9 Page ID #:5



 1
            19.   Plaintiff is informed and believes, and thereon alleges that the owner of
 2
     the account at the date of charge-off was not Prosper Funding, LLC but some party
 3   other than Prosper Funding, LLC.
 4          20.   This failure to disclose the true charge-off creditor and their address, as
 5   well as the account number used by the true charge-off creditor, violates California
 6   Fair Debt Buying Practices Act, specifically California Civil Code §1788.58(a)(6).
 7   False Claims Regarding the Chain of Title
 8          21.   In the Collection Complaint, at paragraph 2, Defendant claimed that
 9   Defendant Velocity was “the only entity that purchased this debt after charge off,”
10   and at paragraph 4 identified the “charge-off creditor at the time of charge-off” as
11   Prosper Funding, LLC.
12          22.   Taken together, this forms an allegation that Prosper Funding, LLC
13   owned the account at issue on the date it was sold to Velocity, and that Prosper
14   Funding, LLC sold the account to Velocity as owner.
15          23.   Plaintiff is informed and believes, and thereon alleges, that this
16   representation is false, as a third party “investor” actually held title to the account at
17   issue at the time it was sold to Velocity, and Velocity chose to hide this third party
18   “investor” from Plaintiff, and the court, in order to make it easier to seemingly prove
19   ownership of the account.
20          24.   Plaintiff is informed and believes, and thereon alleges that the owner of
21   the account immediately prior to Velocity was not Prosper Funding, LLC but some
22   party other than Prosper Funding, LLC.
23   VI.    Allegations Specific to Certain Causes of Action
24                               FIRST CLAIM FOR RELIEF
25                  (Violations of the FDCPA by Defendant Mandarich)
26          59.   Plaintiff re-alleges and incorporates herein by reference the allegations
27   contained in the paragraphs above.
28          60.   Defendant Mandarich violated the FDCPA. Defendant’s violations
     include, but are not limited to the following:
     Complaint                                                     Case # 5:20-cv-311

                                                 -5-
Case 5:20-cv-00311-JFW-SP Document 1 Filed 02/18/20 Page 6 of 9 Page ID #:6



 1
            a.    15 U.S.C. §1692d by engaging in behavior the natural consequence of
 2
     which is to harass, abuse or oppress;
 3          b.    15 U.S.C. §1692e by making a false, deceptive or misleading
 4   misrepresentation in the collection of a debt;
 5          c.    15 U.S.C. §1692e(2) by misrepresenting the character, amount or legal
 6   status of a debt;
 7          d.    15 U.S.C. §1692e(5) by threatening to take action that cannot legally be
 8   taken, or was not intended to be taken;
 9          e.    15 U.S.C. §1692e(10) by use of a false representation or deceptive
10   means to collect a debt;
11          f.    15 U.S.C. §1692f by use of an unfair or unconscionable means to
12   collect or attempt to collect a debt; and
13          61.   Plaintiff is entitled to actual damages sustained as a result of Defendant
14   Mandarich’s conduct, in an amount according to proof; to statutory damages of
15   $1,000 each; to costs of the action; and to reasonable attorney’s fees, all pursuant to
16   15 U.S.C. §1692k.
17                              SECOND CLAIM FOR RELIEF
18                              (Violations of the Rosenthal Act)
19          62.   Plaintiff repeats, re-alleges, and incorporates by reference all the
20   allegations contained in the paragraphs above.
21          63.   Based on information and belief, Defendants’ acts and omissions
22   violated California Civil Code § 1788, et seq.
23          64.   Defendants violated Cal. Civ. Code §1788.17, which incorporates
24   several of the provisions of the FDCPA, including, but not limited to, the following:
25          a.    15 U.S.C. §1692d by engaging in behavior the natural consequence of
26   which is to harass, abuse or oppress;
27          b.    15 U.S.C. §1692e by making a false, deceptive or misleading
28   misrepresentation in the collection of a debt;


     Complaint                                                   Case # 5:20-cv-311

                                                 -6-
Case 5:20-cv-00311-JFW-SP Document 1 Filed 02/18/20 Page 7 of 9 Page ID #:7



 1
            c.    15 U.S.C. §1692e(2) by misrepresenting the character, amount or legal
 2
     status of a debt;
 3          d.    15 U.S.C. §1692e(5) by threatening to take action that cannot legally be
 4   taken, or was not intended to be taken;
 5          e.    15 U.S.C. §1692e(10) by use of a false representation or deceptive
 6   means to collect a debt;
 7          f.    15 U.S.C. §1692f by use of an unfair or unconscionable means to
 8   collect or attempt to collect a debt; and
 9          65.   Defendants’ violations of the Rosenthal Act were willful and knowing,
10   thereby entitling Plaintiff to statutory damages pursuant to Civil Code § 1788.30(b).
11          66.   As a proximate result of the violations of the Rosenthal Act committed
12   by Defendants, Plaintiff is entitled to any actual damages pursuant to California
13   Civil Code § 1788.30(a); statutory damages in an amount of $100.00 to $1,000.00
14   each pursuant to California Civil Code § 1788.30(b); and reasonable attorney’s fees
15   and costs pursuant to California Civil Code § 1788.30(c).
16                              THIRD CLAIM FOR RELIEF
17                          (Violations of the FDBPA by Velocity)
18          67.   Plaintiff repeats, re-alleges, and incorporates by reference all the
19   allegations contained in the paragraphs above.
20          68.   Velocity’s acts and omissions violated the California Fair Debt
21   Buying Practices Act including, but not limited to Cal. Civ. Code §1788.58(a).
22   Velocity’s violations of Cal. Civ. Code §1788.58(a) include, but are not limited to
23   the following:
24          a.    Failing to state the name and an address of the charge-off creditor at
25   the time of charge off and the charge-off creditor’s account number associated
26   with the debt;
27          b.    Failing to state the names and addresses of all persons or entities that
28   purchased the debt after charge-off, including the plaintiff debt buyer;


     Complaint                                                   Case # 5:20-cv-311

                                                 -7-
Case 5:20-cv-00311-JFW-SP Document 1 Filed 02/18/20 Page 8 of 9 Page ID #:8



 1
            69.   As a proximate result of the violations of the California Fair Debt
 2
     Buying Practices Act, Plaintiff is entitled to actual damages, statutory damages of
 3
     $100.00 to $1,000.00, reasonable attorney’s fees and costs of this action pursuant
 4
     to Cal. Civ. Code §1788.62.
 5
                                   PRAYER FOR RELIEF
 6
            Plaintiff prays that judgment be entered against all named Defendants, and
 7   prays for the following relief:
 8   FDCPA
 9          1.    An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1)
10   against Mandarich and for the Plaintiff;
11          2.    An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
12   1692k(a)(2)(A) against Mandarich and for the Plaintiff;
13          3.    An award of costs of litigation and reasonable attorney’s fees against
14   Mandarich and for the Plaintiff, pursuant to 15 U.S.C. § 1692k(a)(3);
15   Rosenthal Act
16          4.    An award of actual damages pursuant to California Civil Code §
17   1788.30(a) against all named Defendants and for Plaintiff;
18          5.    An award of statutory damages of $1,000.00 pursuant to California
19   Civil Code § 1788.30(b) against all named Defendants and for Plaintiff;
20          6.    An award of costs of litigation and reasonable attorney’s fees, pursuant
21   to California Civil Code § 1788.30(c) against all named Defendants;
22   FDBPA
23          7.    An award of actual damages pursuant to California Civil Code §
24   1788.62(a)(1) against Velocity and for Plaintiff;
25          8.    An award of statutory damages of $1,000.00 pursuant to California
26   Civil Code § 1788.62(a)(1) against Velocity and for Plaintiff;
27          9.    An award of costs of litigation and reasonable attorney’s fees, pursuant
28   to California Civil Code § 1788.62(c)(1) against Velocity and for Plaintiff; and
            10.   Such other and further relief this court may deem just and proper.
     Complaint                                                 Case # 5:20-cv-311

                                                -8-
Case 5:20-cv-00311-JFW-SP Document 1 Filed 02/18/20 Page 9 of 9 Page ID #:9



 1
                                      JURY DEMAND
 2
            1.   Plaintiff demands a trial by jury.
 3

 4

 5
     Date: February 18, 2020                        /s/Scott M. Grace
 6                                                  Scott M. Grace
 7
                                                    Attorney for Plaintiff
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




     Complaint                                                   Case # 5:20-cv-311

                                              -9-
